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                                           RESOLUTION

      A RESOLUTION OF THE BOARD OF COUNTT COMMISSIONERS OF TAYLOR
             COUNTY, FLORIDA SETTING THE BOUNDARIES OF THE COUNTY
             COMMISSIONERS’ DISTRICTS FOR TAYLOR COUNTY, FLORIDA


        BE IT RESOLVED BY THE BOARD OF COUNTY COMMISSIONERS OF TAYLOR
 COUNTY, FLORIDA, THAT:
        1.      AUTHORITY. Pursuant to Section 124.01, Florida Statutes, the Board of County
 Commissioners (the “BOARD”), of Taylor County (the “COUNTY”), Florida is authorized and
 directed to, from time to time, fix the botmdaries of the county commissioners’ districts in the
 COUNTY so as to keep them as nearly equal in proportion to population as possible. This
 resolution is adopted by the BOARD pursuant to Section 124.01, Florida Statutes and all other
 applicable authority including, but not limited to. the BOARD’S home rule powers under
Section 125.01, Florida Statutes.

        2.   E       [GS. The BOARD finds that:


             A. The county commissioners’ districts described herein divide the COUNTY into
                five county commissioners’ districts;

             B. The county commissioners’ districts described herein are as nearly equal in
                proportion to population as possible; and,

             C. It is necessary to make the cheinges to the boundaries of the county
                 commissioners’ districts as set out herein so that they will be as nearly equal in
                 proportion to population as possible.

       3.        THE_COUNTY COMMISSIONERS’ DISTRICTS. The boundaries of the county
commissioners' districts for the COUNTY shall hereafter be as follows:

The boundaries for District I are:


The Point of Beginning being the intersection of W Green Street and N Jefferson Street.
Prom this intersection, proceed in a northerly direction along N Jefferson Street to a
point where N Jefferson Street becomes US HWY 221 (SR 55). Continue northwesterly
along US HWY 221 (SR 55) to the intersection with Pisgah Road, thence turn west onto
and continue along Pisgah Road to the intersection with N US HWY 19 (SR 20). Thence
turn northwesterly onto and continue along N US HWY 19 (SR 20) to the intersection
with Pleasant Grove Road. From the intersection of N US HWY 19 (SR 20) and Pleasant
Grove Road, turn northeasterly onto and continue along Pleasant Grove Road to the
intersection with Alton Wentworth Road (CR 14). From the intersection of Pleasant
Grove Road and Alton Wentworth Road, turn southeasterly onto and continue along
Alton Wentworth Road (CR 14) to the intersection with Earl Blanton Road. Thence tmrn
northerly onto and continue along Earl Blanton Road to the intersection with



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 Fellowship Road, from the Fellowship Road intersection, turn westerly onto and
 continue along Fellowship Road to an intersection with the northern boundary of
 Taylor County also being the Taylor-Madison County boundary. Continue westerly
 along the Taylor-Madison County boundary to the Taylor-Madison-J efferson County
 intersection and the Aucilla River. Thence turn southwesterly and continue along the
 Aucilla River, being the Tayior-Jefferson County boundary, to its intersection with the
 Gulf of Mexico and the Taylor County coastline. Thence turn southeasterly and
 continue along the Taylor County coastline to the intersection with the Fenholloway
 River. Thence turn northeasterly and continue along the Fenholloway River to its
 intersection with Peterson Grade and the Peterson Landing Boat Ramp.            Thence
 continue northeasterly along Peterson Grade to the intersection with Hampton Springs
Road. Continue northeasterly along Hampton Springs Road to the intersection with
US HWY 98 (SR 30). Thence turn northeasterly onto and continue along US HWY 98
(SR 30) to the intersection with the west boundary of the City of Perry municipal limits.
Thence turn north and continue along the west boundary of the City of Perry municipal
limits to the Woods Creek Road/Julia Street and Miller Road intersection, continue
north along Miller Road to the intersection with W Ash Street. Thence turn east onto
and continue easterly along W Ash Street to the intersection with N US HWY 19 (SR
20). Thence turn southeasterly onto and continue southeasterly along N US HWY 19
(SR 20) to the intersection with W Green Street. Thence turn east onto and continue
along W Green Street back to the intersection with N Jefferson Street being the Point
of Beginning.
The boundaries for District II are;

The Point of Beginning being the intersection of S Jefferson Street, W Hampton Springs
Ave, and US HWY 27 (SR 20) aka E Hampton Springs Ave. From this intersection,
proceed southerly along S Jefferson Street to the intersection with N US HWY 19 (SR
20), S US HWY 19/98 (SR 58) aka S Byron Bulter Parkway and Puckett Road. Thence
turn onto and continue southeasterly along S US HWY 19/98 (SR 55) to the intersection
with the south boundary of the City of Perry municipal limits. Thence turn west and
proceed along the south boundary of the City of Perry Municipal Limits to the
intersection with Puckett Road. Thence turn south onto and continue southerly along
Puckett Road to the intersection with Holt Road and Carlton Cemetery Road. Thence
turn west onto and continue westerly along Holt Road to the intersection with Golf
Course Road. Thence turn south onto and continue southerly along Golf Course Road
to the intersection with the Fenholloway River. Thence turn west and proceed
westerly then northwesterly along the Fenholloway River to its intersection with
Hampton Springs Road. From this intersection, turn onto and proceed southwesterly
along Hampton Springs Road to the intersection with Peterson Grade. Continue
southwesterly along Peterson Grade to the Peterson Landing Boat Ramp and the
Fenholloway River. Continue southwesterly along the Fenholloway River to its
intersection with the Gulf of Mexico and the Taylor County coastline. Thence turn



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 southeasterly and continue along the Taylor County coastline to the intersection with
Adams Beach Road. Thence turn northeasterly onto and continue along Adams Beach
Rd to the intersection with Beach Rd (CR 361), continue north/northeasterly along
 Beach Road (CR 361) to the intersection with Neeley Sadler Road and Ellison Gamble
Road. Thence turn east onto and continue along Ellison Gamble Road to the
intersection with S US HWY 19/98 (SR 55). Thence turn northwesterly onto and
continue along S US HWY 19/98 (SR 55) to the intersection with Carlton Cemetery Road
and Foley Road (CR 30). Thence turn east onto and continue along Foley Road (CR
30) to the intersection with Old Dixie Highway. Thence turn northwest onto and
continue along Old Dixie Highway to the south boundary of the City of Perry municipal
limits. Thence turn east and continue along the south boundary of the City of Perry
municipal limits to the southeast corner of the City of Perry municipal limits. Thence
turn north and continue along the east boundary of the City of Perry municipal limits
to the point of intersection with T L Malone Road, continue northerly along T L Malone
Road to the intersection with US HWY 27 (SR 20). Thence turn northwesterly onto and
continue along US HWY 27 (SR 20) back to the intersection with S Jefferson Street, W
Hampton Springs Ave, and US HWY 27 (SR 20) aka E Hampton Springs Ave being the
Point of Beginning.
The boundaries for District III are:

The Point of Beginning being the intersection of Buckeye Nursery Road and US HWY
27 (SR 20), From this intersection, proceed southeasterly along US HWY 27 (SR 20) to
the intersection with T L Malone Road. Thence turn south onto and continue along T L
Malone Road to its intersection with the east boundary of the City of Perry municipal
limits. Continue south along the East boundary of the City of Perry municipal limits to
the southeast corner of the City of Perry municipal limits. Thence turn west and
continue along the south boundary of the City of Perry municipal limits to the
intersection with Old Dixie Highway. Then turn southeast onto and continue along Old
Dixie Highway to the intersection with Foley Road (CR 30). From the intersection with
Foley Road (CR 30), turn west onto and continue along Foley Rd (CR 30) to its
intersection with Carlton Cemetery Road and S US HWY 19/98 (SR 55). Thence turn
southeasterly and onto continue along S US HWY 19/98 (SR 55) to the intersection with
Ellison Gamble Road. Thence turn southwest onto and continue westerly along Ellison
Gamble Road to the intersection with Neeley Sadler Road and Beach Road (CR 361).
Thence turn south onto and continue south/southwesterly along Beach Rd (CR 361) to
the intersection with Adams Beach Road.      Thence continue southwesterly along
Adams Beach Road to the intersection with the Gulf of Mexico and the Taylor County
coastline. Thence turn southeasterly and continue along the Taylor County coastline
to its intersection with Dixie County and the Steinhatchee River. Thence turn in an
initially easterly then northerly direction and continue along the Steinhatchee River
also being the Taylor-Dixie County boundary. Continue along the Steinhatchee River
to the intersection with the east boundary of Florida Section 21 of Township 083 Range



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 lOE, thence turn north and continue along the Taylor-Dixie County boundary to
northeast corner of Florida Section 04 of Township OSS Range lOE being the point of
intersection of Taylor County, Dixie County and Lafayette County. Thence turn west
and continue along the Taylor-Lafayette County boundary to the northwest corner of
Florida Section 05 of Township OSS Range lOE. From the northwest corner of Floi'ida
Section 05 of Township OSS Range lOE, turn north and continue along the Taylor-
Lafayette County boundary to the mid-point of the east boundary of Florida Section 07
Township 07S Range 1OE. Thence turn west and continue along the north boundary of
the south half of Florida Section 07 Township 07 Range lOE to the intersection with
Florida Section 12 Township 07S Range 09E. Thence turn north and continue along
the Taylor-Lafayette County boundary to its intersection with US HWY 27 (SR 20).
Thence turn westerly onto and continue along US HWY 27 (SR 20) to the intersection
with San Pedro Road. From the San Pedro Road intersection, turn north onto and
continue northerly and then westerly along San Pedro Road to the intersection with
Buckeye Nursery Road. Thence turn south onto and continue along Buckeye Nursery
Road back to the intersection of Buckeye Nursery Road with US HWY 27 (SR 20) being
the Point of Beginning.
The boundaries for District IV are;

The Point of Beginning being the intersection of W Green Street, E Green Street, N
Jefferson Street and S Jefferson Street. From this intersection, proceed in a southerly
direction along S Jefferson Street to the intersection of S Jefferson Street, W Hampton
Springs Ave, and US HWY 27 (SR 20) aka E Hampton Springs Ave. Thence turn east
onto and continue easterly/southeasterly along US HWY 27 (SR 20) to the intersection
with Buckeye Nursery Road. Thence turn north onto and continue along Buckeye
Nursery Road to the intersection with San Pedro Road. Thence turn east and continue
east initially then southeasterly along San Pedro Road to the intersection with US HWY
27 (SR 20). Thence continue northeasterly along US HWY 27 (SR 20) to its intersection
with the east boundary of Taylor County also being the Taylor-Lafayette County
boundary. Thence turn north and continue along the Taylor-Lafayette County
boundary to the NE corner of Florida Section 01 Township OSS Range 09E, also being
the intersection of Taylor County, Lafayette County and Madison County. Thence turn
west and continue along the Taylor-Madison County boundary to the NW corner of
Florida Section 06 Township OSS Range 09E. Thence turn north and continue along
the Taylor-Madison County boundary to the NE corner of Florida Section 24 Township
02S Range 08E. Thence turn west and continue along the Taylor-Madison County
boundary to the intersection of Fellowship Road and the Taylor-Madison County
boundary. From that intersection, turn easterly/southeasterly and continue along
Fellowship Road to the intersection with Earl Blanton Road. Thence turn south and
continue southerly along Earl Blanton Road to the intersection with Alton Wentworth
Road (CR 14). Thence turn onto and continue northwesterly along Alton Wentworth
Road (CR 14) to the intersection with Pleasant Grove Road. From the intersection with



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Pleasant Grove Road, turn westerly onto and continue southwesterly along Pleasant
Grove Road to the intersection with N US HWY 19 (SR 20). Thence turn southeasterly
and continue along N US HWY 19 (SR 20) to the intersection with Pisgah Road. Thence
turn east onto and continue along Pisgah Road to the intersection with US HWY 221 (SR
55). Thence turn southeasterly onto and continue along US HWY 221 (SR 55) to a point
where US HWY 221 (SR 55) becomes N Jefferson Street. Then continue southeasterly
along N Jefferson Street back to the intersection with W Green Street, E Green Street,
N Jefferson Street and S Jefferson Street being the Point of Beginning,
The boundaries for District V are;

 The Point of Beginning being the intersection of W Green Street, E Green Street, N
Jefferson Street and S Jefferson Street. From this intersection, proceed west along W
 Green Street to the intersection with N US HWY 19 (SR 20). Thence turn northwesterly
 onto and continue along N US HWY 19 (SR 20) to the intersection with W Ash Street.
 Thence turn west onto and continue along W Ash Street to the intersection with Miller
 Road. From this intersection, turn south onto and continue along Miller Road, also
 being the west boundary of the City of Perry Municipal limits, to the intersection with
Woods Creek Road, Thence continue south along the west boundary of the City of
Perry Municipal limits to the intersection with US HWY 98 (SR 30). Thence turn
southwesterly onto and continue along US HWY 98 (SR 30) to the intersection with
Hampton Springs Road. From this intersection, turn southwesterly onto and continue
along Hampton Springs Road to its intersection with the Fenholloway River. Thence
turn easterly and continue east/southeasterly along the Fenholloway River to its
intersection with Golf Course Road. From this intersection, turn northerly onto and
continue along Golf Course Road to the intersection with Holt Road. Thence turn east
onto and continue along Holt Road to the intersection with Carlton Cemetery Road and
Puckett Road. From this intersection, turn north onto and continue northerly along
Puckett Road to the intersection with the south boundary of the City of Perry Municipal
Limits. Thence turn and proceed easterly along the south boundary of the City of
Perry Municipal Limits to the intersection with S US HWY 19/98 (SR 55). From this
intersection turn northwesterly onto and continue along S US HWY 19/98 (SR 55) aka
S Byron Bulter Parkway, to the intersection with N US HWY 19 (SR 20) aka N Byron
Butler Parkway, Puckett Road and S Jefferson Street. Thence turn northerly onto and
continue along S Jefferson Street to the intersection with W Green Street, E Green
Street and N Jefferson Street being the Point of Beginning.

      4. DIRECTIONS TO CLERK. The clerk is hereby authorized and directed to:

      A. Enter this resolution upon the minutes of the BOARD meeting where it was
         adopted [Section 124.02(1), Florida Statutes];

      B. Publish a certified copy of the minutes of the meeting where this resolution
         was adopted at least once each week for 2 consecutive weeks (two


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                publications being sufficient) in a newspaper published in the COUNTY
                [Section 124.02(1), Florida Statutes];

          C. Attach the proof of such publication to the minutes of the meeting where this
             resolution was adopted [Section 124.02(3), Florida Statutes];

          D. Forthwith furnish the Department of State with a certified copy of the minutes
                of the meeting where this resolution was adopted [Section 124.03, Florida
                Statutes]; and

          E. Record a description of the boundaries of the county commissioners’
             districts as set out herein in its office in a book kept for that purpose [Section
                124.03, Florida Statutes].

          5.       REPEAL OF CONFLICTING RESOLUTIONS.               All resolutions or parts of
 resolutions in conflict herewith are hereby repealed to the extent of such conflict.

          6.            SEVERABILITY CLAUSE. It is declared to be the intent of the BOARD
that if any section, subsection, sentence, clause, phrase, or portion of this resolution
is for any reason held invalid or unconstitutional by a court of competent jurisdiction,
such portion shall be deemed a separate, distinct and independent provision, and
such holdings shall not affect the validity of the remaining portions hereof.

          7.       EFFECTIVE DATE. This resolution shall become effective upon adoption
or as soon as otherwise allowed by law,

      MASSED AND ADOPTED upon due motion, second, after discussion, by majority vote
this 0^        day of                 , 2024.



                                          BOARD OF COUNTY COMMISSONERS
                                          OFTA"     ●R COUNTY




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